Case 2:17-cv-00699-BRM-RLS                         Document 731         Filed 02/20/24   Page 1 of 1 PageID:
                                                        26381
    In re Insulin Pricing Litigation, No. 2:17‐cv‐699
    Class Plaintiffs’ Response to ECF No. 723
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    February 20, 2024

    By ECF

    Hon. Rukhsanah L. Singh, U.S.M.J.
    United States District Court
    Martin Luther King Federal Bldg.
    & U.S. Courthouse
    50 Walnut Street
    Newark, New Jersey 07102


    Re:        In re Insulin Pricing Litigation, No. 2:17‐cv‐699: Class Plaintiffs’ Response to
               Court’s minute entry, dated January 24, 2024 (ECF No. 723)


  Dear Judge Singh:

          We are Interim Co-Lead Counsel for plaintiffs in the above-referenced matter.
  Enclosed for the Court are public versions of Plaintiffs’ Motion for Class Certification,
  Plaintiffs’ Reply in Support of Motion for Class Certification and Plaintiffs’ Opposition to
  Defendants’ Motion to Exclude the Testimony of Professor Meredith Rosenthal. As Your
  Honor will see, many of these documents are redacted. These redactions are consistent
  with Your Honor’s Order on the motion to seal and were provided to and approved by
  defendants in advance of filing.

            Thank you for Your Honor’s kind attention to this matter.

                                                        Respectfully,

                                            I NTERIM C O ‐L EAD C OUNSEL

                       Steve W. Berman                                       James E. Cecchi

  Enclosures

  cc: All Counsel of Record
